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Case 1:15-Cv-00688-GI\/|S Document 51 Filed 08/23/17 Page 4 of 5 Page|D #: 386

IN THE DISTRICT COURT

DISTRICT OF DELAWARE

 

D/iv¢p wATSJ/\// 51 AL ,
Plaintiff,

Civil Action No. {§ ` éz/l//’ 6//\§

V.

 

WW\“/\»/WW\/\/\/\/\/

 

%//€/Q\/ /Ulz/EL:)U§ ,et al,
Defendant
ORDER
rr IS HEREBY oRDERED, 'rHIS DAY oF ,
20 , THAT THE ATTACHED MOTION 70 /§E&FE/’J CASE HAS BEEN

 

READ AND CONSIDERED- l'l` IS ORDERED THAT THE MOTION IS

HEREBY

 

District Court Judge

Case 1:15-Cv-00688-GI\/|S Document 51 Filed 08/23/17 Page 5 of 5 Page|D #: 387

Certificate of Service

I, wa k/MY)A/,F hereby certify that I have served a true and
correct cop(ies) of the attached /MU%/’/ //© yeng C%SE, # /§ “`G?Q G/V§

Upon the following parties/persons:

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BY PLACING SAME IN A SEALED ENVELOPE, and depositing same in the United
States Mail at the James 'l`. Vauglm Correctional Center, Smyrna, DE 19977.

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